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                                                                                                                           RD _' I C
                                                       United States District Court
                                                EASTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                          V.                                                  ORDER OF DETENTION PENDING TRIAL

                                                                              Case Number:
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           In accordance with the'Bait Reform Act. 18 U.S.C. §3142{f). a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.

                                                          Part I - Findings of Fact
      (l)The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal offense)
           (State or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed)
              that is
               a crime of violence as defined in 18 U.S.C. §3156(a)(4).
               an offense for which the maximum sentence is life imprisonment or death.                                                     'v
               an offense for which a maximum term of imprisonment of ten years or more is prescribed in                               .     .
              a felony that was committed after the defendant had been convicted of two or more prior federal offense described in
                18 U.S.C. §3142(0(1)(A)-(C), or comparable state or local offenses.
      (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state br local
 '■          offense.
      ^(3)A period of not more than five years has elapsed since the (date of conviction)(release of the defendant from imprisonment)
            for the offense described in finding (1).
    (4) The defendant has not rebutted the presumption established by fi nding Nos.(i), (2) and (3) that no condition or combination of
conditions will reasonably assure the safety of (an)other person(s) and the community-

                                                                 Alternative Findings (A)
       (1)    There is probable cause to believe that the defendant has committed an offense
                    for which a maximum term of imprisonment of ten years or more is prescribed in         21 U.S.C. S                         .
                        under 18 U.S.C. {)924(c).
       (2)    The defendant has not rebutted the presumption established by fi nding (1) that no condition or combination of conditions
                will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                               Alternative Findings (B)
       (1)     There is a serious risk that the defendant will not appear.

       (2)     There is a serious risk that the defendant will endanger the safely of another person or the community.



                                                    Part !1 - Written Statement of Reasons for Detention
      I find that the credible testimony and information submitted at the hearing establishes by a preponderance ofthe e\idencelclear and
convincing evidence that no conditions will reasonably assure defendant's appearance/the safety ofthe community because
          defendant lacks substantial ties to the community.
          defendant is not a U.S. citizen and an illegal alien.
          defendant has no stable history of employment.
     ^ defendant presented no credible sureties to assure his appearance.
          ^ but leave is granted to reopen and present a bail package in the future.
          defendant's family resides primarily in                                                  .




                                                         Part 111 - Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
  shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request
  of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for
  the purpose of an appearance in connection with a court proceeding.
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             "Brooklyn. N'ew York
                                                                                         UNITED-STATES MAGISTRATE TUDGE
